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IN THE UNITED sTATEs DISTRICT CoURT .
FoR THE WESTERN DISTRICT oF ARKANSAS DEC 2 'f‘ 2009
FAYETTEVILLE I)IVISIoN BY was n. JQH~SON, am
GREGORY HoLLINGsWoRTH, ) ”EPU"°LERK
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Plaimiff, ) / 52 g 9
) 0 q
v. )
)
ENTERPRISE RECovERY sYsTEMs, INC., )
)
Defendant. )
CoMPLAINT

NOW COMES the Plaintiff, GREGORY HOLLINGSWORTH, by and through his
attorneys, LARRY P. SMITH & ASSOCIATES, LTD., and for his complaint against the

Defendant, ENTERPRISE RECOVERY SYSTEMS, INC., Plaintiff states as follows:

I. PRELIMlNARY STATEMENT
l. This is an action for actual and statutory damages for violations of the F air Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, e_t §§

II. JURISDICTION & VENUE
2. Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 e_t §e_q., and pursuant to 28
U.S.C. §1331 and 28 U.S.C. §1337.

3. Venue is proper in this district pursuant to 28 U.S.C. §139l(b).

III. PARTIES
4. GREGORY HOLLINGSWORTH, (hereinafter, “Plaintiff”) is an individual who

Was at all relevant times residing in the City of Rogers, County of Benton, State of Arkansas.

 

 

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5. ENTERPRISE RECOVERY SYSTEMS, INC., (hereinafter, “Defendant”) is a
business entity engaged in the collection of debt within the State of Arkansas. Defendant is
incorporated in the State of Arkansas.

6. In its dealings with Plaintiff, Defendant held itself out as being a company
collecting a debt allegedly owed by Plaintiff.

7. At all relevant times, Plaintiff was a “consumer” as that term is defined by 15
U.S.C. §1692a(3).

8. At all relevant times, Defendant acted as a debt collector as that term is defined by
15 U.S.C. §l692a(6).

IV. ALLEGATIONS

9. On or about September 22, 2009, Plaintiff received a telephone call from Ms.
Jackson, a duly authorized representative of Defendant, who stated that she was calling to collect
a debt allegedly owed by Plaintiff.

10. The debt allegedly owed by Plaintiff was incurred primarily for personal, family,
or household services.

ll. During the course of the aforementioned telephone call, Defendant told Plaintiff
that he is the reason that so many young people cannot obtain student loans.

12. During the course of the aforementioned telephone call, Defendant told Plaintiff
that he should have considered the ramifications of receiving a loan before he went out and
bought cars, a home and other luxuries.

13. During the course of the aforementioned telephone conversation, Plaintiff asked
Defendant not to talk to him in such a Way; Defendant replied that she can talk to Plaintiff any

way she likes.

 

 

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14. During the course of the aforementioned telephone conversation, Plaintiff
attempted to make arrangements to pay an amount towards the debt.
15. Defendant refused to listen to Plaintiff`s attempts to make arrangements to pay an
amount towards the debt.
16. Defendant told Plaintiff that there was nothing more to talk about and
intentionally disconnected the call While Plaintiff was still speaking
17 . In its attempts to collect the debt allegedly owed by Plaintiff, Defendant violated
the FDCPA, 15 U.S.C. §1692 in one or more of the following ways:
a. Engaged in conduct the natural consequence of which is to harass, oppress or
abuse any person in connection with the collection of a debt in violation of 15

U.s.C. §1692d;

b. Used obscene or profane language or language the natural consequence of
Which is to abuse the hearer or reader in violation of 15 U.S.C. §1692d(2);

c. Used false, deceptive, misleading and unfair or unconscionable means to
collect or attempt to collect an alleged debt in violation of 15 U.S.C. §l692e;

d. Used unfair and/or unconscionable means to collect or attempt to collect a
debt in violation of 15 U.S.C. §1692f.

e. Was otherwise deceptive and failed to comply with the provisions of the
FDCPA.

18. As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

V. JURY DEMAND

l9. Plaintiff hereby demands a trial by jury on all issues so triable.

VI. PRAYER FoR RELIEF
WHEREFORE, Plaintiff, NAMEOFPLAINTIFF, by and through his attomeys,

respectfully prays for judgment as follows:

 

 

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a. All actual compensatory damages suffered;
b. Statutory damages of $1,000.00;
c. Plaintiff’s attorneys’ fees and costs;

d. Any other relief deemed appropriate by this Honorable Court.

Respectfully submitted,
GREGORY HOLL NGSWORTH

David M. Marco t}/, ,
Attorney for Plainti

 

By:

 

Dated: December 16, 2009

David M. Marco (Atty. No.: 6273315)
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